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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         1st Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                             Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Luis Javier Reategui                                 JOINT DEBTOR:                                         CASE NO.:       16-21912
 Last Four Digits of SS#                   xxx-xx-8614                    Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $            729.67 for months             1      to       15       ;
           B.       $             636.35 for months           16      to       60       ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  3,500.00       TOTAL PAID $                      2,000.00
                     Balance Due       $             1,500.00 payable $ 100.00                   /month (Months          1   to    15 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
    KENSINGTON GARDENS
 1. CONDOMINIUM ASSOCIATI                                            Arrearage on Petition Date $ 17,000.00
              C/O VICTORY
              ACCTG. SERVICE;
              1500 GATEWAY
              BLVD #220;
              Boynton Beach, FL
    Address:  33426                                                     Arrears Payment $                   283.34 /month (Months 1 to 60 )
      Account No:                                                       Regular Payment $                   280.00 /month (Months 1 to 60 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate          Plan Payments Months of Payment    Total Plan Payments
                                                 $                                                      $
Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                       Regular Payment $
Unsecured Creditors: Pay $ 15.16 /month (Months 16 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Bayview Financial Loan: Debtor will pay claim directly.
             Santander Consumer Usa (Acct XXXX1153): Debtor will pay claim directly.
             Franklin Credit Management Corp (Acct XXXX7500): Debtor will treat outside of the plan.


             Debtor shall provide copies of yearly income tax returns to the Trustee no later than May 15th during the pendency of
             the Chapter 13 case. In the event the Debtor’s income or tax refund increase, the Debtor shall increase payments to
             unsecured creditors over and above payments provided through the Plan up to 100% of allowed unsecured claims.




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I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Luis Javier Reategui
 Luis Javier Reategui
 Debtor
 Date: March 10, 2017




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